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17                         UNITED STATES DISTRICT COURT
18          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
19   JOHN ROE 1, an individual; JANE            Case No. 8-22-CV-00983-DOC-DFM
     ROE 1, an individual; JANE ROE 2 an
20   individual; JANE ROE 3, an individual,      DEFENDANTS’ JOINT OPPOSITION TO
     JOHN ROE 2, on behalf of themselves         PLAINTIFFS’ MOTION FOR
21   and all others similarly situated,          PROTECTIVE ORDER
22                  Plaintiffs,                 Courtroom:    10A
23         v.                                   Judge:        Hon. David O. Carter
                                                Date:         July 18, 2022
24   THE STATE BAR OF CALIFORNIA;               Time:         8:30 a.m.
     TYLER TECHNOLOGIES, INC.;
25   KEVAN SCHWITZER; RICK
     RANKIN; and DOES 4 through 10,
26   inclusive,
27                  Defendants.
28                                                                        DFTS’ JOINT OPP. TO
                                                           PLTFS’ MOT. FOR PROTECTIVE ORDER
                                                            CASE NO. 8:22-CV-00983-DOC-DFM
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COOLEY LLP
                                                                                     -iii-                  STATE BAR’S MOTION TO DISMISS FAC
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 1   I.      INTRODUCTION
 2            Defendants The State Bar of California, Tyler Technologies, Inc., and
 3   Rick Rankin (collectively, “Defendants”) jointly oppose Plaintiffs’ Motion for
 4   Protective Order to proceed under pseudonyms. (Dkt. 41 (“Mot.”).) Plaintiffs rely
 5   only on unsupported argument and conclusory, irrelevant, and otherwise
 6   inadmissible declarations that, even if credited, do not come close to satisfying the
 7   exacting standard for proceeding pseudonymously set forth in Does I thru XXIII v.
 8   Advanced Textile Corp., 214 F.3d 1058 (9th Cir. 2000). In short, Plaintiffs fail to
 9   overcome “the default presumption . . . that the plaintiffs will use their true names.”
10   Doe v. Kamehameha Sch./Bernice Pauahi Bishop Est., 596 F.3d 1036, 1046 (9th
11   Cir. 2010). The motion should be denied.
12   II.      RELEVANT BACKGROUND
13            This case arises from a third party’s harvesting and posting of limited
14   nonpublic docket-level information about attorney disciplinary complaints—case
15   number, filing date, case type, case status, and respondent and complaining witness
16   names (“Docket Data”)—filed with the State Bar and hosted on the Odyssey Portal,
17   a public-facing online case management system created and maintained by
18   Tyler Technologies (the “Incident”). (Ex. A; Ex. B at 3, Ex. C.)1 The State Bar
19   learned of the Incident on February 24, 2022, after which Defendants acted promptly
20   to secure the Odyssey Portal and then remove the Docket Data from the Internet,
21   which was completed two days later, on February 26. (Ex. A; Ex. B at 3–4.)
22            Plaintiffs filed this class-action lawsuit in California state court on March 18.
23   (Dkt. 1 ¶ 1.)      Plaintiffs allege that they reside in California and are either
24   (a) attorneys who have been the subject of a State Bar disciplinary proceeding or
25   (b) non-attorneys      who     have     submitted     complaints      against     attorneys,
26   i.e., complaining witnesses. (Dkt. 1-1, First Amended Complaint (“FAC”) ¶¶ 1–5.)
27   Plaintiffs do not aver their real names in the First Amended Complaint and have not
28   1
         “Ex.” refers to Exhibits to the Declaration of Tiana Demas filed with this brief.
                                                                                DFTS’ JOINT OPP. TO
                                                  1              PLTFS’ MOT. FOR PROTECTIVE ORDER
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 1   disclosed their real names to Defendants. (Declaration of Tiana Demas (“Demas
 2   Decl.”) ¶ 2.) Plaintiffs seek to represent “[a]ll California residents identified in the
 3   [Docket Data],” excepting the Court, Defendants, and their agents and employees.
 4   (FAC ¶¶ 43–44.)
 5           Tyler Technologies (with the consent of all Defendants) removed the lawsuit
 6   to this Court on May 13. (Dkt. 1.) Defendants each filed a motion to dismiss on
 7   June 6. (Dkts. 35, 36, 38.) The State Bar and Mr. Rankin argued in their respective
 8   motions that Plaintiffs’ anonymous pleading violates Federal Rule of Civil
 9   Procedure 10(a), which requires a complaint to “name all parties.” (Dkt. 36 at 16;
10   Dkt. 38-1 at 24.) The State Bar also argued that Plaintiffs failed to satisfy the
11   administrative claim presentation requirement in the California Tort Claims Act
12   (“CTCA”) because (among other things) they did not specify which Plaintiffs, if
13   any, had filed claims with the State Bar before proceeding with this litigation.
14   (Dkt. 38-1 at 8–9.) On June 14, Plaintiffs filed the instant motion for protective
15   order. Defendants now submit this joint opposition.
16   III.    LEGAL STANDARD
17           “Plaintiffs’ use of fictitious names runs afoul of the public’s common law
18   right of access to judicial proceedings . . . and Rule 10(a)’s command that the title of
19   every complaint ‘include the name of all the parties.’” Advanced Textile, 214 F.3d
20   at 1067. The Ninth Circuit “has made clear that the use of a pseudonym should only
21   be permitted occasionally and in ‘unusual’ cases.”               Roe v. Skillz, Inc.,
22   858 F. App’x 240, 241 (9th Cir. 2021) (quoting United States v. Stoterau, 524 F.3d
23   988, 1012 (9th Cir. 2008)). “Because there is a presumption that parties’ identities
24   are public information, anonymity is only proper under ‘special circumstances when
25   the party’s need for anonymity outweighs prejudice to the opposing party and the
26   public’s interest in knowing the party’s identity.’” Skillz, 858 F. App’x at 241
27   (quoting Advanced Textile, 214 F.3d at 1068).2
28   2
         The only authority that Plaintiffs cite in the motion is dated from the year 1981 or
                                                                              DFTS’ JOINT OPP. TO
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 1   IV.   ARGUMENT
 2         A.      PLAINTIFFS FAIL TO SHOW A NEED FOR ANONYMITY
 3         The Ninth Circuit has identified three situations in which plaintiffs may
 4   proceed under a pseudonym: “(1) when identification creates a risk of retaliatory
 5   physical or mental harm”; “(2) when anonymity is necessary to preserve privacy in a
 6   matter of sensitive and highly personal nature”; and “(3) when the anonymous party
 7   is compelled to admit his or her intention to engage in illegal conduct, thereby
 8   risking criminal prosecution.” Advanced Textile, 214 F.3d at 1068 (cleaned up).
 9   The motion asserts only the first two: fear of retaliation and protection of privacy.
10   (Mot. at 4–5.) Plaintiffs do not demonstrate either.
11         At the threshold, Plaintiffs’ purported evidence supporting either alleged need
12   is deficient. Jane Doe 1 did not file a declaration. John Roe 1, John Roe 2,
13   Jane Roe 2, and Jane Roe 3 filed pseudonymous declarations lacking any
14   explanation of why or how they have knowledge of the facts asserted. (See Dkt. 41-
15   1, Declarations of Roe Plaintiffs (“Roe Decls.”).) Defendants object that such
16   “testimony” from unidentified sources lacks proper foundation and has not been
17   properly authenticated; it is thus inadmissible under Local Rule 7-7 and
18   Federal Rule of Civil Procedure 56(c)(4), which requires a declaration “be made on
19   personal knowledge, set out facts that would be admissible in evidence, and show
20   that the affiant or declarant is competent to testify on the matters stated.” See Link
21   Treasure Ltd. v. Baby Trend, Inc., 809 F. Supp. 2d 1191, 1195 (C.D. Cal. 2011)
22   (ruling    declaration   “lacking   adequate   foundation”   is   inadmissible      under
23   Rule 56(c)(4)).
24         The declaration and exhibits submitted by Plaintiffs’ counsel, (Dkt. 41-2,
25   Declaration of Lenore Albert (“Albert Decl.”)), are inadmissible on numerous
26   grounds: they lack proper foundation, recite numerous hearsay statements, contain
27
28   before. (Mot. at 3.) None of Plaintiffs’ cases discuss or apply the correct standard
     from Advanced Textile, decided nearly two decades later.
                                                                             DFTS’ JOINT OPP. TO
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 1   improper opinion by counsel, and—insofar as counsel purports to offer her own
 2   experiences and documents as “an example for this court,” (id. ¶ 17)—are both
 3   irrelevant to any alleged need of Plaintiffs for anonymity and unfairly prejudicial.
 4   Fed. R. Civ. P. 56(c)(4); Fed. R. Evid. 402, 403, 602, 701, 802, 901, 1002.3 The
 5   Court should disregard this evidence.
 6                i.     Plaintiffs’ alleged fear of retaliation is meritless
 7         “When the party asserts that pseudonymity is necessary due to fears of
 8   retaliation, courts balance the severity of the threatened harm, the reasonableness of
 9   the fears, and the party’s vulnerability to such retaliation.” 4 Exotic Dancers v.
10   Spearmint Rhino, 2009 WL 250054, at *2 (C.D. Cal. Jan. 29, 2009). Here, Plaintiffs
11   fail to show an “objectively reasonable fear of extraordinarily severe retaliation.”
12   Advanced Textile, 214 F.3d at 1063.
13         “First, the district court must identify the harm that the plaintiffs fear.”
14   Kamehameha Sch., 596 F.3d at 1043. The motion does not identify any specific
15   threat; rather, it vaguely asserts only that Plaintiffs “already fear retaliation by the
16   State Bar,” without explaining why or providing support. (Mot. at 4.) Plaintiffs’
17   declarations, even if credited (and they should not be), merely contain the same bare
18   statement that they are “fearful about . . . retaliation.” (Roe Decls. ¶¶ 6, 14, 22, 30.)
19   Such vague and conclusory statements are insufficient to demonstrate a specific
20   threat. See Skillz, 858 F. App’x at 241–42 (affirming denial of pseudonym motion
21   because plaintiff’s “conclusory and general statements without explanation or
22
23
     3
       Plaintiffs’ counsel asserts that her “phone number appeared on the dark web”
     resulting in “new voicemail spam,” and suggests it as an example of “the harm or
24   potential harm” to Plaintiffs. (Albert Decl. ¶¶ 12–14.) Counsel’s personal
     experiences are irrelevant here. In any event, she included the same number without
25   redaction in Exhibit 3 to her declaration, (id. Ex. 3 at 1), and in public filings in both
     California state court and this Court, (see, e.g., FAC at 1; Dkt. 5, Notice of
26   Appearance of Counsel at 1). That number is also available on counsel’s public bar
     member profile.         (Attorney Profile, Lenore LuAnn Albert, available at
27   https://apps.calbar.ca.gov/attorney/Licensee/Detail/210876.)         Consequently, the
     alleged appearance of counsel’s publicly-available phone number on the Internet—
28   whether on the “dark web” or otherwise—has nothing to do with this case, much
     less Plaintiffs’ purported need for anonymity.
                                                                               DFTS’ JOINT OPP. TO
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 1     support” were insufficient to support alleged need for anonymity); Doe v.
 2     Bergstrom, 315 F. App’x 656, 657 (9th Cir. 2009) (affirming denial of pseudonym
 3     motion in part because “Doe has presented no evidence that the disclosure of the
 4     information he seeks to keep private may subject him to retaliation or harassment”);
 5     Smith v. Patel, 2009 WL 3046022, at *2 (C.D. Cal. Sept. 18, 2009) (“Plaintiff offers
 6     no specific information suggesting that disclosure of his identity would expose him
 7     to a risk of physical or mental harm, relying instead on vague generalizations about
 8     risks that all civil rights plaintiffs bear.”).
 9            Even if Plaintiffs’ unsupported allegations are assumed to be true, they are not
10     “sufficiently severe enough to warrant pseudonymity.” 4 Exotic Dancers, 2009 WL
11     250054, at *2.       “[P]hysical harm presents the paradigmatic case for allowing
12     anonymity.” Kamehameha Sch., 596 F.3d at 1043. Plaintiffs do not allege a fear of
13     physical harm. Instead, they generally claim that using their true names in this
14     litigation would allow someone to find “public records [that] include their phone
15     number, email address and location” and allow them to “be doxed on the dark web, a
16     set up for harassment of never-do-wells.” (Mot. at 4–5.) Plaintiffs again fail to
17     explain why anyone would do this, what kind of harassment they could fear, or how
18     it would be connected to their involvement in this case. Such ambiguous and
19     theorized harm, even if true, would not be extraordinary.            See Doe v. U.S.
20     Healthworks Inc., 2016 WL 11745513, at *4 (C.D. Cal. Feb. 4, 2016) (finding
21     “economic harm must be ‘extraordinary’” to suffice (quoting Advanced Textile,
22     214 F.3d at 1070)); Doe v. Amazon.com, Inc., 2011 WL 13073281, at *3–4 (W.D.
23     Wash. Dec. 23, 2011) (ruling “non-physical retaliation” arising from disclosure of
24     “full name, address, age, and ZIP code” must be “extreme” to warrant anonymity).
25            Plaintiffs also have not shown that their purported fear is objectively
26     reasonable. “Courts are instructed to examine a party’s fears through a critical lens.”
27     Amazon.com, 2011 WL 13073281, at *3. For example, in the Kamehameha case,
28     the Ninth Circuit held that the fear asserted by children who had received specific
                                                                               DFTS’ JOINT OPP. TO
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 1     threats of violence in connection with their lawsuit was unreasonable based on “the
 2     surrounding context and other listeners’ reactions to the threats.” 596 F.3d at 1044–
 3     45. Plaintiffs do not identify who might harass them because of their involvement in
 4     this case or explain why, let alone provide surrounding context. There is no basis to
 5     find that their generalized claim of fear is objectively reasonable.4
 6                  ii.    Plaintiffs’ privacy argument is insufficient
 7           Plaintiffs’ other basis for seeking to use pseudonyms—the alleged need to
 8     protect their privacy, (Mot. at 4)—fares no better.            “Courts have allowed
 9     pseudonymity to protect a plaintiff’s privacy when necessary ‘to preserve privacy in
10     a matter of sensitive and highly personal nature.’” 4 Exotic Dancers, 2009 WL
11     250054, at *3 (quoting Advanced Textile, 214 F.3d at 1068)). Cases involving such
12     privacy interests are those “freighted with the high risk of stigmatization,” Doe v.
13     John F. Kennedy University, 2013 WL 4565061, at *3 (N.D. Cal. Aug. 27, 2013),
14     such as “sexual abuse and assault” or “abortion and birth control use, homosexuality
15     and transsexuality, AIDS, and the welfare or abandoned or illegitimate children,” In
16     re Ashley Madison Consumer Data Breach Litig., 2016 WL 1366616, at *3 (E.D.
17     Mo. Apr. 6, 2016) (collecting cases).
18           The motion does not establish that any such sensitive or highly personal
19     matters are implicated here.      Plaintiffs contend that “multiple attorneys” had
20     “medical or other issues” revealed in the Incident, but do not identify who those
21     attorneys are or provide detail about the alleged issues.        (Mot. at 4.)     Nor do
22     Plaintiffs assert that any of their medical information was revealed in the Incident.5
23
       4
         Plaintiffs also fail to satisfy the third element of the Advanced Textile standard
24     because they “do[] not provide any evidence of factors that make [them] especially
       vulnerable to retaliation.” Amazon.com, 2011 WL 13073281, at *3–4.
25     5
         Docket Data records posted in the Incident contained only a case number, filing
26     date, case type, case status, and respondent and complaining witness names for each
       matter. (Ex. B at 2.) Only 1,034 records showed signs of having been viewed and
27     only six of those contained the case type: “Inactive 6007(b)(3) Mental Illness or
       Substance Abuse.” (Id.) The State Bar notified those six individuals with a unique
28     letter and the remaining 1,028 individuals with a different letter. (Id.) None of the
       Plaintiffs claim to have received either of those letters.
                                                                                DFTS’ JOINT OPP. TO
                                                  6              PLTFS’ MOT. FOR PROTECTIVE ORDER
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 1     In their inadmissible declarations, Jane Roe 2 and John Roe 2 state only that they
 2     have “private medical” conditions. (Roe Decls. ¶¶ 13, 29.) They do not claim that
 3     those unspecified conditions would be highly stigmatizing to them or are otherwise
 4     related to the Incident or their involvement in this case. See Doe v. UNUM Life Ins.
 5     Co. of Am., 164 F. Supp. 3d 1140, 1145–46 (N.D. Cal. Feb. 22, 2016) (denying
 6     pseudonym motion asserting need for anonymity because plaintiff’s mental illness
 7     was not “exceptional and stigmatizing”); John F. Kennedy University, 2013 WL
 8     4565061, at *3 (denying pseudonym motion in part because “[l]earning disabilities
 9     such as ADHD are not uncommon” or stigmatizing). None of the other Plaintiffs’
10     declarations state anything about a medical or other issue involving purported
11     personal information. Notably, the only notification allegedly received by one of the
12     Plaintiffs clearly states in bold, underlined text: “the State Bar has no evidence
13     that your nonpublic State Bar record(s) had page views on judyrecords.”
14     (Albert Decl. Ex. 2 at 1.)6 Plaintiffs have thus failed to demonstrate that any of their
15     sensitive or highly personal information would be disclosed if they proceeded under
16     their real names in this case. See Bergstrom, 315 F. App’x at 657 (“Doe’s purported
17     need to proceed anonymously does not implicate the highly intimate, personal
18     information contemplated in Advanced Textile.”).
19           Plaintiffs’ privacy argument reduces to a plea that they be allowed to use
20     fictitious names to avoid undefined “embarrassment or harassment” and the alleged
21     harms of “emotional distress and potential job loss, extortion, hostility, and
22     oppression.” (Mot. at 4.) “But the potential embarrassment or increased anxiety
23     brought on by litigation does not justify anonymity.”           UNUM Life Ins., 164
24     F. Supp. 3d at 1145; see also John F. Kennedy University, 2013 WL 4565061, at *3
25
       6
26       Defendants do not dispute that the State Bar sent communications to individuals
       affected by the Incident with the language in the email dated May 23, 2022 in
27     Exhibit 2 to the declaration of Plaintiffs’ counsel. Defendants object that Exhibit 2
       lacks adequate foundation and has not been properly authenticated because Plaintiffs
28     have not shown that that it was received by any specific individual. Defendants
       quote Exhibit 2 in the event the Court deems it admissible on this motion.
                                                                                DFTS’ JOINT OPP. TO
                                                 7               PLTFS’ MOT. FOR PROTECTIVE ORDER
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 1     (denying pseudonym motion in part because “[t]he social and professional harm that
 2     Plaintiff believes will result . . . is not significantly different than that faced by many
 3     plaintiffs who allege damages relating to mental or emotional distress”). Again,
 4     Plaintiffs provide no support that using their true names in this case would cause
 5     embarrassment, harassment, or the parade of other harms they allege. Even if
 6     credited (and, again, they should not be), these ambiguous anxieties at best show
 7     “[t]hat plaintiffs may suffer some embarrassment or economic harm,” which “is not
 8     enough to warrant pseudonymity.” 4 Exotic Dancers, 2009 WL 250054, at *3
 9     (quoting Doe v. Rostker, 89 F.R.D. 158, 162 (N.D. Cal. 1981) (cleaned up).
10     Consequently, Plaintiffs have not shown a legitimate privacy concern weighing in
11     favor of proceeding pseudonymously.
12           B.     ALLOWING PLAINTIFFS TO PROCEED UNDER PSEUDONYMS WOULD
                    PREJUDICE DEFENDANTS
13
14           “The Ninth Circuit has acknowledged that the use of pseudonyms can impair
15     a defendants’ ability to mount a defense.” 4 Exotic Dancers, 2009 WL 250054,
16     at *3; see also Kamehameha Sch., 596 F.3d at 1042 (holding presumption that
17     “parties must use their real names” rests partly on “the right of private individuals to
18     confront their accusers”). “Allowing Plaintiff to proceed anonymously would create
19     significant barriers for the defense” by hampering “Defendants’ efforts to investigate
20     the case.” John F. Kennedy University, 2013 WL 4565061, at *4.
21           The same is true here. Defendants do not know Plaintiffs’ true identities and
22     thus cannot collect evidence or analyze the allegations in the First Amended
23     Complaint in order to mount a full defense.           That would include discovering
24     information relevant to Plaintiffs’ credibility and alleged damages, among other
25     things. For example, the Court must know Plaintiffs’ true names to assess if they
26     complied with the CTCA’s administrative claim presentation requirement, as
27     Plaintiffs are required to do. (See Dkt. 38-1 at 8–9.) Allowing Plaintiffs to proceed
28     anonymously would thus prejudice Defendants.
                                                                                  DFTS’ JOINT OPP. TO
                                                   8               PLTFS’ MOT. FOR PROTECTIVE ORDER
                                                                    CASE NO. 8:22-CV-00983-DOC-DFM
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                                          #:395


 1           C.     PLAINTIFFS’ NEED FOR ANONYMITY DOES NOT OVERCOME THE
                    PUBLIC’S INTEREST IN KNOWING THEIR NAMES
 2
 3           “Identifying the parties to the proceeding is an important dimension of
 4     publicness. The people have a right to know who is using their courts.” Stoterau,
 5     524 F.3d at 1013 (cleaned up); Kamehameha Sch., 596 F.3d at 1046 (holding “we
 6     recognize the paramount importance of open courts”).         Nothing in the motion
 7     demonstrates that Plaintiffs’ alleged “need for anonymity outweighs the public’s
 8     interest in the proceedings.” Skillz, 858 F. App’x at 242; see also UNUM Life Ins.,
 9     164 F. Supp. 3d at 1145 (ruling “potential embarrassment and economic harm” are
10     not enough to outweigh the public interest in open court proceedings); 4 Exotic
11     Dancers, 2009 WL 250054, at *3 (recognizing “general presumption that parties’
12     identities are public information”).
13           The public also has an interest in knowing Plaintiffs’ identities because they
14     “brought this case as a class action.”       Healthworks, 2016 WL 11745513, at
15     *6 (denying pseudonym motion in part because “the Court cannot determine
16     whether Plaintiff would be an adequate class representative if he is not able and
17     willing to disclose his identity”). “Because class actions determine the rights of
18     absent class members, due process requires the class be fairly and adequately
19     represented.” In re Ashley Madison, 2016 WL 1366616, at *4. Plaintiffs should be
20     required to proceed under their true names to enable the Court to assess whether they
21     would be adequate class representatives and “so that the public, including the
22     putative class members they seek to represent, know who is guiding and directing
23     the litigation.” Id.
24     V.    CONCLUSION
25           For the foregoing reasons, Plaintiffs have failed to overcome the “normal
26     presumption in litigation . . . that parties must use their real names.” Kamehameha
27     Sch., 596 F.3d at 1042. The Court should deny Plaintiffs’ motion to proceed in this
28     case using pseudonyms.
                                                                              DFTS’ JOINT OPP. TO
                                                9              PLTFS’ MOT. FOR PROTECTIVE ORDER
                                                                CASE NO. 8:22-CV-00983-DOC-DFM
     Case 8:22-cv-00983-DFM   Document 46 Filed 06/27/22     Page 15 of 15 Page ID
                                        #:396


 1     Dated: June 27, 2022                  COOLEY LLP
 2
                                             /s/ Tiana Demas
 3                                           Tiana Demas
 4
                                             Attorneys for Defendant
 5                                           THE STATE BAR OF CALIFORNIA
 6                                           The filer, Tiana Demas, attests that the
                                             other signatories listed, on whose behalf
 7                                           the filing also is submitted, concur in the
                                             filing’s content and have authorized the
 8                                           filing.
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10     Dated: June 27, 2022                  K&L GATES LLP
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12                                           /s/ Beth W. Petronio
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